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                                                                                CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                                                                                          FILED
                               UNITED STATES DISTRICT COURT                           01/06/2020
                               WESTERN DISTRICT OF VIRGINIA                        JULIA C. DUDLEY, CLERK
                                     CHARLOTTESVILLE DIVISION                      BY: /s/ J. JONES
                                                                                       DEPUTY CLERK

    ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                          v.                            ORDER

    JASON KESSLER, et al.,
                                                        JUDGE NORMAN K. MOON
                                      Defendants.



         On January 3, 2020, this Court ordered Defendant Elliott Kline to appear at the United

  States Courthouse in Charlottesville, Virginia, on Monday, January 6, 2020 at 12:00 p.m. EST, to

  surrender himself to the custody of the United States Marshals Service. Dkt. 613. This Court

  further ordered Kline to “bring with him any and all documents, electronic devices, credentials to

  access e-mail and social media accounts, and materials he would need to purge himself of

  contempt.” Dkt. 613 at 5. On this date and before 12:00 p.m. EST, as directed, Kline surrendered

  himself to the custody of the United States Marshals Service. Finding it just and appropriate to do

  so, this Court hereby ORDERS the Clerk’s Office to retain and hold any and all materials and

  devices brought by Kline during any periods of his incarceration.

         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties, and

  to the United States Marshal’s Service.

         Entered this   6th     day of January, 2020.
